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A0245B       (Rev. 09/11) Judgment in a Ctiminal Case
             Sheet 1



                                        UNITED STATES DISTRICT COURT
                                                                District ofUtah
                                                                         )
             UNITED STATES OF AMERICA                                    )    JUDGMENT IN A CRIMINAL CASE
                                 v.                                      )
                     ROBERT G. LUSTYIK, JR.                              )
                                                                         )    Case Number: DUTX 2:12CR00645-001 TC
                                                                         )    USM Number: 91912-054
                                                                         )
                                                                         )    Michael J. Langford
                                                                                 Defendant's Attorney
THE DEFENDANT:
~pleaded guilty to count(s)           One through Eleven of the Indictment

D pleaded nolo contendere to count(s)
  which was accepted by the court.
D was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:




 18 U.S.C. §1343-1346-2            Honest Service Wire Fraud                                                                             2-9



       The defendant is sentenced as provided in pages 2 through          __
                                                                           7__ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)

D Count(s)
               -------------
                                                        D is      Dare dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material clianges in economic circumstances.

                                                                           3/30/2015




                                                                          Stgnature of Judge




                                                                           Tena Campbell                                U.S. District Judge
                                                                          Name and Title of Judge
              (.l)
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AO 245B   (Rev. 09111) Judgment in a Criminal Case
          Sheet IA
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DEFENDANT: ROBERT G. LUSTYIK, JR.
CASE NUMBER: DUTX 2:12CR00645-001 TC

                                         ADDITIONAL COUNTS OF CONVICTION




18 U.S.C. §1505
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AO 245B     (Rev. 09/11) Judgment in Criminal Case
            Sheet 2 - Imprisomnent
                                                                                                 Judgment- Page       3   of   7
DEFENDANT: ROBERT G. LUSTYIK, JR.
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                                                              IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau ofPrisons to be imprisoned for a
total term of:
   120 months in the custody of the Bureau of Prisons




    ¢     The court makes the following recommendations to the Bureau of Prisons:

    The court recommends that defendant serve his sentence at an appropriate level facility at FCI Otisville to facilitate
  visitation with family.



    ¢     The defendant is remanded to the custody of the United States Marshal.

    D The defendant shall surrender to the United States Marshal for this district:
          D at       -------------------
                                                     D a.m.    D p.m.    on

          D as notified by the United States Marshal.

    D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          D before 2 p.m. on
          D as notified by the United States Marshal.
          D as notified by the Probation or Pretrial Services Office.


                                                                 RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                      to

 a ______________________________ , with a certified copy of this judgment.



                                                                                               UNITED STATES MARSHAL



                                                                        By   ----------~====~==~~~~~~~---------
                                                                                     DEPUTY UNITED STATES MARSHAL
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AO 245B        (Rev. 09/11) Judgment in a Criminal Case
               Sheet 3 - Supervised Release
                                                                                                                  Judgment-Page              of
DEFENDANT: ROBERT G. LUSTYIK, JR.
CASE NUMBER: DUTX 2:12CR00645-001 TC
                                                            SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :
      36 months

         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. · The defendant shall submit to one drug test within 15 days of release from imprisonment anCl at least two periodic drug tests
thereafter, as determined by the court.
          The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
          future substance abuse. (Check, if applicable.)

          The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

          The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

          The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S. C.§ 16901, et seq.)
 D        as directed by the probatwn officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
          works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

 D        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                             STANDARD CONDITIONS OF SUPERVISION
     1)     the defendant shall notleave the judicial district without the permission of the court or probation officer;
     2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)     the defendant shall support his or her dependents and meet other family responsibilities;
     5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
            acceptable reasons;
     6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
            controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
            felony, unless granted permission to do so by the probation officer;
  10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
            contraband observeCl in plain view of the probation officer;
  11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)       the defendant shall not enter into any agreement to act as an infonner or a special agent of a law enforcement agency without the
            permission of the court; and

  13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
            record or ~ersonal history or characteristics and shall permit the probation officer to make such notifications and to confinn the
            defendant s compliance with such notification requirement.                                       ·
  14)      The defendant shall submit his or her person, residence, office or vehicle to search, conducted by the probation office at a reasonable time and in a
           reasonable manner based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a search
           may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to this condition.
AO 245B
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          (Rev. 09111) Judgment in a Criminal Case
          Sheet 3C- Supervised Release
                                                                                       Judgment-Page        . of -----=--
DEFENDANT: ROBERT G. LUSTYIK, JR.
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                                        SPECIAL CONDITIONS OF SUPERVISION
 1. Defendant must inform any employer or prospective employer of his conviction and supervision status.

 2. The defendant must not enter into any employment while under supervision without prior approval of the U.S. Probation
 Office.
AO 245B
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           (Rev. 09/11) Judgment in a Criminal Case
           Sheet 5 - Criminal Monetaty Penalties
                                                                                                       Judgment- Page _ __    of
DEFENDANT: ROBERT G. LUSTYIK, JR.
CASE NUMBER: DUTX 2:12CR00645-001 TC
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                       Assessment                                                                             Restitution
TOTALS             $ 1,100.00                                            $                                $



 D The determination of restitution is deferred until            ---
                                                                             . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

 D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is pa1d.




 TOTALS                               $                           0.00            $                    0.00
                                                                                      ------------


 D    Restitution amount ordered pursuant to plea agreement $

 D    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 D    The court detennined that the defendant does not have the ability to pay interest and it is ordered that:

      D the interest requirement is waived for the               D fine        D restitution.
      D the interest requirement for the              D   fine    D restitution is modified as follows:


 *Findings for the total amountoflosses are required under Chapters 109A, 110, llOA, and 113A ofTitle 18 for offenses committed on or after
 September 13, 1994, but before April23, 1996.
AO 245B
                                 Case 2:12-cr-00645-TC Document 1034 Filed 04/02/15 Page 7 of 7
                (Rev. 09/11) Judgment in a Criminal Case
                Sheet 6- Schedule of Payments
                                                                                                                                                        Judgment-Page·              1          of._::]_         _
DEFENDANT: ROBERT G. LUSTYIK, JR.
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                                                                           SCHEDULE O:F PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A        ii{    Lump sum payment of$                      1, 100.00                     due immediately, balance due

                D       not later than                                                        , or
                D       in accordance                   DC,            D      D,        D       E, or         D F below; or

B        D      Payment to begin immediately (may be combined with                                        oc,              DD,or              D F below); or

 C       D      Payment in equal                               (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                                     (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

 D       D      Payment in equal                               (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                                     (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
                term of supervision; or

 E       D      Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
                imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F       D      Special instructions regarding the payment of criminal monetary penalties:




 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
 imprisonment. All cnminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 D       Joint and Several

         Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
         and corresponding payee, if appropriate.




 D       The defendant shall pay the cost of prosecution.

 D       The defendant shall pay the following court cost(s):

 ri/     The defendant shall forfeit the defendant's interest in the following property to the United States:
     any property, real or personal, which constitutes or is derived from proceeds traceable to the offense including a personal money judgment against this defendant In the amount of $70,000.00, joint and several witr
     defendant Johannes W. Thaler. The forfeiture order also provides that the attorney general (or a designee) is authorized to conduct discovery that may assist in identifying, locating, or disposing of property subject
     forfeiture that may be forfeited as substitute assets or otherwise used to satisfy the rnoney judgment. The court retains jurisdiction to enforce this order, and to amend It as necessary




 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
